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 1                                                           Magistrate Judge S. Kate Vaughan
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 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
 9
       UNITED STATES OF AMERICA,                         NO. MJ24-484 SKV
10
                              Plaintiff,
11                                                       COMPLAINT FOR VIOLATIONS:
12                                                       18 U.S.C. § 2251(a), (e)

13                       v.
       JUSTIN D. CARR,
14
                              Defendant.
15
16
17 BEFORE, the Honorable S. Kate Vaughan, United States Magistrate Judge, U.S.
18 Courthouse, Seattle, Washington.
19                                           COUNT 1
                                 (Production of Child Pornography)
20
            On or about May 2024, in King County, within the Western District of
21
     Washington, and elsewhere, JUSTIN D. CARR, employed, used, persuaded, induced,
22
     enticed, or coerced any minor to engage in, or who has a minor assist any other person to
23
     engage in, or who transports any minor in or affecting interstate or foreign commerce, or
24
     in any Territory or Possession of the United States, with the intent that such minor engage
25
     in, any sexually explicit conduct for the purpose of producing any visual depiction of
26
     such conduct or for the purpose of transmitting a live visual depiction of such conduct,
27
     shall be punished as provided under subsection (e), if such person knows or has reason to
28
     know that such visual depiction will be transported or transmitted using any means or
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 1 facility of interstate or foreign commerce or in or affecting interstate or foreign
 2 commerce or mailed, if that visual depiction was produced or transmitted using materials
 3 that have been mailed, shipped, or transported in or affecting interstate or foreign
 4 commerce by any means, including by computer, or if such visual depiction has actually
 5 been transported or transmitted using any means or facility of interstate or foreign
 6 commerce or in or affecting interstate or foreign commerce or mailed. All in violation of
 7 Title 18, United States Code, Section 2251(a), (e).
 8          And the complainant states that this Complaint is based on the following
 9 information:
10         I, Federal Bureau of Investigation (FBI) Task Force Officer, Adele O’Rourke,
11 being duly sworn under oath, depose and say:
12                                          INTRODUCTION
13         1.      I am a commissioned law enforcement officer for the City of Renton Police
14 Department, currently assigned to the Investigations Division. I am currently a detective
15 assigned to the Major Crimes Unit, where I am tasked with investigating a variety of
16 crimes against children to include but not limited to electronic-facilitated crimes against
17 children, sexual exploitation of children, and depictions of minors engaged in sexually
18 explicit conduct. I also assist in the investigation of major crimes, including but not
19 limited to robbery, homicide, and assault. I am familiar with and regularly utilize various
20 social media applications and programs in my role as an investigator. Before my
21 investigation assignment, I was assigned to patrol operations, working as a patrol officer
22 for 2.5 years. I have been a police officer since September 2016 and am a graduate of
23 Cornell University. I have over 754 hours of basic law enforcement training, as well as
24 numerous other hours of advanced law enforcement training, mostly trained through
25 Washington State Criminal Justice Training Commission (WSCJTC). I have attended
26 numerous trainings including Death Investigations via the National Criminal Justice
27 Training Center, ICAC Undercover Concepts and Techniques via the National Criminal
28 Justice Training Center, and the NW Regional ICAC Conference for 2020, 2021, and

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 1 2022. In 2022 I completed the Specialist Interview Course and Advanced Specialist
 2 Interview Course via Forensic Solutions and the WA Internet Crimes Against Children
 3 Taskforce. In November 2023 I was sworn and deputized as a Task Force Officer with
 4 the Federal Bureau of Investigation, in the Violent Crimes Against Children unit.
 5 I have received training in the area of child pornography and child exploitation and have
 6 had the opportunity to observe and review numerous examples of child pornography (as
 7 defined in 18 U.S.C. § 2256) in all forms of media including cellular device media.
 8 Moreover, I am a federal law enforcement officer who is engaged in enforcing the
 9 criminal laws, including 18 U.S.C. §§ 2251, 2252, and 2252A, and I am authorized by
10 law to request a search warrant.
11         2.      The facts set forth in this Complaint are based on my own personal
12 knowledge; knowledge obtained from other individuals during my participation in this
13 investigation, including other law enforcement officers; review of documents and records
14 related to this investigation; communications with others who have personal knowledge
15 of the events and circumstances described herein; and information gained through my
16 training and experience. I have not set forth all facts known to me as a result of this
17 investigation but only those facts I believe necessary to establish probable cause to
18 conclude that JUSTIN D. CARR, committed the offense(s) charged in this Complaint.
19
20                              SUMMARY OF THE INVESTIGATION
21         3.      In July 2024, I received information from the Las Animas County Sheriff’s
22 Office in Colorado concerning an individual who had been in possession of child sexual
23 exploitation material, with the child identified as MV1, the 4-year-old daughter of the
24 suspect’s girlfriend. The suspect was identified by law enforcement as JUSTIN D.
25 CARR (DOB XX/XX/1988).
26         4.      I learned the following from the relevant Las Animas Sheriff’s Office
27 reports. On May 14, 2024, Las Animas County Sheriff’s Office were dispatched to
28 Interstate 25 Mile Marker 35 which lies within the county of Las Animas, State of

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 1 Colorado. Dispatch advised that a female party was reporting that MV1 was raped by the
 2 reporting party’s boyfriend, CARR, and she found photos on his phone of the act. Deputy
 3 Apple placed CARR in the back of her patrol vehicle so he would not be struck by traffic
 4 in the area. Deputy Cantoria arrived after CARR was secured. Deputy Cantoria spoke to
 5 the reporting party identified as Daniele M. Courtright. Courtright said that she had been
 6 closing out applications on CARR’s phone, when she noticed an explicit photo in his
 7 “photos” application. When she further examined the photo, she noted that it was of
 8 CARR’s penis engaged in a sexual act with her 4-year-old daughter, MV1. Courtright
 9 then showed Deputy Cantoria three photographs with what appeared to be an adult man’s
10 penis penetrating the vaginal area of a small child. CARR’s face was visible in one of the
11 three photos. The photos were timestamped for May 11, 2024 at 0825 hours. They also
12 had the location stamped as Benson Hill, Renton WA. Renton, WA is in the County of
13 King, State of Washington.
14         5.      CARR was placed into custody by Las Animas Sheriff’s Office for
15 possession of child pornography. Daniele and MV1 were then assisted with getting to
16 Parkview Medical Center in Pueblo, Colorado for a sexual assault exam.
17         6.      Deputy Cantoria and Deputy Romero conducted an interview with CARR
18 on May 14, 2024. CARR was brought into the interview room at approximately 1840
19 hours and the interview began. Deputy Romero read CARR his Miranda rights and Carr
20 placed his initials on the Miranda Rights form provided by las Animas County Sheriff’s
21 office. CARR said “Okay I did it one time… I’ll confess I did it one time.” CARR said
22 that he did not know what he was thinking and that he was in a lot of pain from moving
23 and he did not know and blacked out. When asked what day this was, CARR said maybe
24 Friday or Saturday. Deputy Romero asked CARR to clarify what he did. CARR said he
25 laid his “thing” against hers. When asked to clarify what CARR meant by “thing” he said
26 that it was his penis and confirmed he meant next to her vagina. CARR was asked if he
27 was the individual as shown in the photos and he said that he was. CARR denied
28 penetration and denied ejaculation.

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 1 CARR’s cellular device where the images were seen was taken into evidence by Las
 2 Animas County Sheriff’s Office. A search warrant was served on the device, in order to
 3 view and extract data from the device, to include the data from January 1, 2024 to May
 4 11, 2024. There were numerous images from this extraction, to include approximately six
 5 images (some potential duplicates) of what was believed to be the suspected child
 6 exploitation material. One such file is described below:
 7         File Name 5005_3: This is .jpg file which shows an adult male’s face in the
 8         background of the picture. The male is white, with darker hair and eyebrows, and
 9         his gaze is down toward the camera angle. The camera is directly pointed to the
10         adult male’s naked genital area, where his erect penis is clearly seen in the image.
11         The adult male’s erect penis is seen inserted into the naked vaginal area of the
12         white female child. The female child’s nude buttocks fits in the hand of the adult
13         male, who is grabbing it, and looks to be squeezing the area. The female child’s
14         anus is also seen in the image, and a notable red rash can be seen in this area.
15
16         7.      The cellular device belonging to CARR, which was found to contain child
17 sexual exploitation material, is described as an Apple iPhone 14 Plus. According to an
18 internet search, Apple primarily manufactures iPhones in China and Taiwan.
19         8.      On July 29, 2024, a Child Forensic Interview was completed in Texas,
20 where MV1 is currently residing with her mother. The interview was completed by Child
21 Adolescent Forensic Interviewer, Janetta Michaels, of the Federal Bureau of
22 Investigation. MV1 confirmed that she refers to CARR as her “Daddy”. MV1 talked
23 about CARR punching her, and when asked where he punched her, MV1 lifted up her left
24 leg and pointed her left finger to her vaginal area. When asked what she called this area
25 she responded stating it was her “Coo Coo”. When asked what CARR used to punch her
26 “Coo Coo”, MV1 stated “a broom.” Additionally, MV1 stated CARR took off her panties
27 and her pants and touched her “Coo Coo” with his “Pee Pee.” When shown a diagram of
28 a female without clothing on, MV1 pointed to the vaginal area, saying that was called a

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 1 “Coo Coo”. MV1 said that when CARR touched her “Coo Coo,” it “hurted a lot”. When
 2 asked if CARR ever made MV1 do anything with her mouth, she said that CARR
 3 “squished” her throat. MV1 demonstrated this by showing two hands in front of her,
 4 interlacing her fingers, and squeezing her hands together. MV1 said while this was
 5 happening CARR said he was sorry. MV1 said CARR touched her “Coo Coo” with his
 6 “Pee Pee” more than one time. MV1 was shown a few images that had been obtained
 7 from CARR’s cellular device pursuant to a search warrant. The images were of suspected
 8 child sexual exploitation material, depicting MV1 with CARR. MV1 was shown an
 9 image and pointed to it saying it was of a “Coo Coo”. MV1 said it was her “Coo Coo”.
10 When asked about the face seen in the image, she identified CARR saying it was her
11 “Dad.” MV1 also identified the hands and buttocks shown in the image as belonging to
12 her “Dad”. Another photograph was shown to MV1, where she identified a “butt” and a
13 “Coo Coo”. MV1 said that the “Coo Coo” was “Dad’s,” and that the “butt” was hers
14 because it started to get red. MV1 identified the fingers in the image as belonging to Dad.
15 MV1 said that when the image was happening, she was angry.
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